    18-36599-cgm          Doc 25-1 Filed 03/15/19 Entered 03/15/19 16:01:24                 Exhibit
                                 Certificate of Service Pg 1 of 1


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
POUGHKEEPSIE DIVISION
 ---------------------------------------------------------- X
 In re:                                                         Chapter 13

 Carl Garris and Sheryl L Metz-                                 Case No. 18-36599-cgm
 Garris,
                                                                Chief Judge: Hon. Cecelia G. Morris
                               Debtors.
 ---------------------------------------------------------- X

                                      CERTIFICATE OF SERVICE

          I hereby certify that on, March 15, 2019, I caused the foregoing to be electronically filed
with the Clerk of the Bankruptcy Court using the CM/ECF system which sent notification of such
filing to the following:
Krista Preuss             Chapter 13 Trustee         email: info@CH13KP.com
Scott B. Ugell            Debtor’s attorney          email: Scott@UgellLaw.com
U.S. Trustee                                         email: USTPRegion02.PK.ECF@USDOJ.GOV

          And, I hereby certify that I caused the documents to be mailed by the Untied States Postal
Service to the following non CM/ECF participants:

Debtor
Carl Garris
Sheryl L Metz-Garris
23 Alexander Dr
Washingtonville, NY 10992


                                            McCalla Raymer Leibert Pierce, LLC
                                            Attorneys for Nationstar Mortgage LLC d/b/a Mr. Cooper,
                                            as servicer for HSBC Bank USA, National Association as
                                            Trustee for Merrill Lynch Mortgage Investors, Inc.,
                                            Mortgage Pass-Through Certificates, MANA Series 2007-
                                            OAR2,
                                            By:       _/s/ Jessica Russo
                                                     Name: Jessica Russo
